USCA4 Appeal: 07-4115   Doc: 77   Filed: 10/19/2007   Pg: 1 of 3




                                    Document 1
USCA4 Appeal: 07-4115           Doc: 77             Filed: 10/19/2007             Pg: 2 of 3


                                     UNITED STATES COURT OF APPEALS
                                                    FOR THE FOURTH CIRCUIT
                                          Lewis F. Powell, Jr. United States Courthouse Annex
                                                    1100 E. Main Street, Suite 501
                                                   Richmond, Virginia 23219-3517

    Patricia S. Connor                                  www.ca4.uscourts.gov                      Telephone
           Clerk                                                                                (804) 916-2700




                                                  October 19, 2007



              LaVon Dobie
              #38360-037
              SFF Hazelton
              P. O. Box 3000
              Bruceton Mills, WV           26525


                         Re: 07-4115 US v. LaVon Dobie
                                    8:04-cr-00235-RWT

                            07-4059 US v. Learley R. Goodwin
                                   8:04-cr-00235-RWT

                            07-4060 US v. Paulette Martin
                                   8:04-cr-00235-RWT

                            07-4062 US v. Lanora N. Ali
                                   8:04-cr-00235-RWT

                            07-4063 US v. Reece C. Whiting
                                   8:04-cr-00235-RWT

                            07-4080 US v. Derrek L. Bynum
                                   8:04-cr-00235-RWT


              Dear Ms. Dobie:

                   We acknowledge receipt of your letter of 10/15/07.
              The letter was sent to your attorney who will act in your
              behalf. All future correspondence, including motions,
              should be sent directly to your attorney.




                                                                Yours truly,

                                                                PATRICIA S. CONNOR
                                                                      Clerk


                                                                  /s/ Sharon A. Wiley
                                                                By: ________________________
                                                                     Deputy Clerk
USCA4 Appeal: 07-4115   Doc: 77   Filed: 10/19/2007   Pg: 3 of 3




          Copies to:

          Thomas Peter McNamara, Esq.
          OFFICE OF THE FEDERAL PUBLIC DEFENDER
          Suite 450
          150 Fayetteville Street Mall
          Raleigh, NC 27601
